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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
ROSE HILL CUMBERLAND
PRESBYTERIAN CHURCH PLAINTIFF
VS. NO. 4:23-CV-00335 LPR
CHURCH MUTUAL
INSURANCE COMPANY SI DEFENDANT

PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT
CHURCH MUTUAL’S MOTION FOR CONTINUANCE AND TO
AMEND CURRENT SCHEDULING ORDER

Comes the plaintiff, Rose Hill Cumberland Presbyterian Church “Rose Hill”, and for its
brief in opposition to Defendant Church Mutual’s motion for continuance and to amend current
scheduling order, states:

A. Trial Date

Defendant has two lead attorneys in this case and can also find a few other lawyers to
adequately represent it against Plaintiff and its sole attorney. The motion for continuance is in
bad faith and should be denied.

B. This Court Should Not Reopen Discovery and Allow the Filing of Dispositive

Motions.
This argument is completely meritless. If Defendant had looked on PACER it would have

discovered that the Service Restoration v. Rose Hill Cumberland Presbyterian Church case was
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remanded back to Drew County Circuit Court on July 29, 2024. If Defendant had looked on
CaseSearch it would have discovered that there is not a court date set.

That the above-styled case was filed on April 10, 2023, and Plaintiff's motion for
summary judgment is pending.

That the case Defendant did not know was remanded (Service Restoration v. Church
Mutual) was removed to federal court by Defendant on August 23, 2023. Defendant’s desperate
stall tactic should be seen for what it is and the Defendant’s motion should be denied.

WHEREFORE, Plaintiff requests this Court deny the Defendant’s motion for
continuance and to amend current scheduling order, and for all other proper relief, including
attorney’s fees.

Respectfully submitted,
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